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 17                    UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 18
 19   CARL ZEISS AG and ASML                  Case No. 2:17-cv-03221-RGK (MRWx)
      NETHERLANDS B.V.,
 20           Plaintiffs,
      v.                                      PLAINTIFFS’ AMENDMENT TO
 21                                           JOINT PROPOSED EXHIBIT LIST
                                              WITH OBJECTIONS
 22   NIKON CORPORATION and NIKON
      INC.,                                   Trial Date: June 26, 2018, 9:00 a.m.
 23
              Defendants.                     Courtroom: 850
 24                                           Judge: Hon. R. Gary Klausner
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          PLAINTIFFS’ AMENDMENT TO JOINT PROPOSED EXHIBIT LIST WITH
                                                             OBJECTIONS
                                      Case No. 2:17-cv-03221-RGK (MRWx)
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  1          Plaintiffs Carl Zeiss AG and ASML Netherlands B.V.’s (“Plaintiffs”)
  2   Amendment to the Joint Proposed Exhibit List with Objections is attached as
  3   Attachment A hereto. Plaintiffs are deleting a number of exhibits relating to the ’312
  4   and ’017 patents and are adding the IPR decisions issued on June 4, 2018 by the PTAB
  5   for the ’792 and ’167 patents. To avoid duplication, Plaintiffs reserve their right to
  6   rely on any exhibit appearing on any amendments thereto.
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  1   Dated: June 8, 2018   FISH & RICHARDSON P.C.
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 26                         NETHERLANDS B.V.

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  1                             CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above and
  3   foregoing document has been served on June 8, 2018, to all counsel of record who are
  4   deemed to have consented to electronic service via the Court’s CM/ECF system per
  5   Civil Local Rule 5.4. Any other counsel of record will be served by electronic mail,
  6   facsimile and/or overnight delivery.
  7
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                                        CASE 2:17-CV-03221-RGK (MRWX)
